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                 IN THE UNITED STATES DISTRICT COURT
                                                                     RECEIVED
                                                                         .
                     FOR THE DISTRICT OF MONTANA                          MAY 15 2020
                          MISSOULA DIVISION
                                                                     CLERK, U.S. DISTRICT COU RT
                                                                       DISTRICT OF MONTANA
                                                                             MISSOULA
 LARRY STEVEN WILKINS and                       CV 18-147-M-DLC-K.LD
 JANE B. STANTON,

                     Plaintiffs,
                                                          ORDER
 vs.

 UNITED STATES OF AMERICA,

                      Defendant.

       On October 11, 2019, the Government filed a number of exhibits attached to

its Motion to Dismiss for lack of subject matter jurisdiction. (Doc. 32.) Seven of

these exhibits are Forest Service maps. (See Docs. 32-24, 32-25, 32-26, 32-27, 32-
                                                               I

28, 32-29, 32-30.) Each map contains considerable detail and small text.

However, the low resolution of these maps in their current form precludes

readability. The Court will require the Government to resubmit these seven

exhibits by pdf, to be delivered to the Court as soon as possible. The Government

may do so by sending an email to the proposed order account or by disk drive.


       IT IS ORDERED that the Government shall resubmit Docs. 32-24, 32-25,

32-26, 32-27, 32-28, 32-29, 32-30 in pdf form as soon as possible.




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DATED this 1.2__ day of May, 2020.




                              Dana L. Christensen, District Judge
                              United States District Court




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